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 1   David T. Biderman, Bar No. 101577
     DBiderman@perkinscoie.com
 2   PERKINS COIE LLP
     505 Howard Street, Suite 1000
 3   San Francisco, California 94105
     Telephone: 415.344.7000
 4   Facsimile: 415.344.7050
 5   Charles C. Sipos, Pro Hac Vice
     CSipos@perkinscoie.com
 6   PERKINS COIE LLP
     1201 Third Avenue, Suite 4900
 7   Seattle, Washington 98101
     Telephone: 206.359.8000
 8   Facsimile: 206.359.9000
 9   Attorneys for Defendant Campbell
     Soup Company
10

11
                                   UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14

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     KYLE BANTA YOSHIDA, ANTHONY                          Case No. 3:21-cv-09458-JD
16   MANCUSO, and ASHLEY MISTLER, on
     behalf of themselves, those similarly situated,      DEFENDANT CAMPBELL SOUP
17   and the general public;                              COMPANY’S NOTICE OF MOTION AND
                                                          MOTION TO DISMISS FIRST AMENDED
18                  Plaintiffs,                           COMPLAINT

19          v.                                            [Fed. R. Civ. P. 12(b)(1) & 12(b)(6)]
20   CAMPBELL SOUP COMPANY,                               Date:            September 15, 2022
21                  Defendant.                            Time:            10:00 a.m. PT
                                                          Courtroom:       Courtroom 11, 19th Floor
22                                                        Judge:           Hon. James Donato

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 1

 2                                 NOTICE OF MOTION & MOTION

 3          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 4          PLEASE TAKE NOTICE that on September 15, 2022, at 10:00 a.m., or as soon thereafter

 5   as the matter may be heard in the courtroom of the Honorable James Donato, located at 450 Golden

 6   Gate Avenue, San Francisco, CA 94102, Courtroom 11 – 19th Floor, or in Judge Donato’s virtual

 7   courtroom, Defendant Campbell Soup Company will and hereby does move, pursuant to Federal

 8   Rules of Civil Procedure 12(b)(1) and 12(b)(6), to dismiss Plaintiffs’ First Amended Complaint

 9   (“FAC”).

10          This motion is made on the following grounds: (1) the FAC fails to allege a theory of

11   deception that is plausible or that satisfies the applicable “reasonable consumer” standard; (2) the

12   FAC is expressly preempted by federal law; (3) Plaintiffs are unentitled to the FAC’s requested

13   forms of equitable relief; and (4) the FAC should be dismissed with prejudice because of the futility

14   of further amendment and Plaintiffs’ prior opportunities to amend.

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 1                                        I.      INTRODUCTION
 2          Plaintiffs’ First Amended Complaint (“FAC”) unearths a theory of deception even more

 3   implausible than the one this Court has already rejected. Plaintiffs contend a “reasonable consumer”

 4   will be misled into believing that Defendant Campbell Soup Company’s V8 fruit and vegetable

 5   juices (“V8 Juices”) are the nutritional equivalent of raw fruits and vegetables. That theory is

 6   incurably flawed under the “reasonable consumer” standard in multiple ways.

 7          Plaintiffs’ theory depends on the non-sensical inference that a “reasonable consumer” does

 8   not understand the difference between raw, whole plants, and the juices that come from them—a

 9   position that is facially implausible. The FAC’s related assertion that consumers will believe that

10   two distinct foods are “nutritionally equivalent,” FAC ¶ 34, is a theory that a panel of the Ninth

11   Circuit has unmistakably rejected: “[T]wo distinct food products necessarily have different

12   nutritional profiles…[I]t is not plausible that a reasonable consumer would ‘assume that two

13   distinct products have the same nutritional content.’” See Painter v. Blue Diamond Growers, 757

14   F. App’x 517, 519 (9th Cir. 2018). That is particularly true here because V8 Juices’ labels bear

15   accurate information regarding their nutritional content, an inarguable fact that was one of the

16   central premises of this Court’s first dismissal order.

17          Moreover, nothing the FAC alleges as to V8 Juices’ labels would prompt this implausible

18   belief as to “nutritional equivalence.” For example, Plaintiffs now point to language on V8 Juices’

19   labels that state the products provide a specified amount of servings of fruits or vegetables based

20   on “Dietary Guidelines.” FAC ¶¶ 17, 32. What the FAC fails to mention is that these statements

21   are true. United States Department of Agriculture (“USDA”) Dietary Guidelines—promulgated at

22   the behest of Congress to provide consumers with science-based nutritional guidance—do say that

23   100% fruit and vegetable juices like V8 Juices are part of “healthy eating patterns” and so qualify

24   as servings of fruits and vegetables in part of an overall healthy diet.

25          Moreover, the FAC’s “new” theory of deception is, in truth, just a re-run of arguments this

26   Court has already rejected. When pressed by this Court to explain why the sugar content of V8

27   Juices is purportedly misleading, Plaintiffs’ Counsel repeatedly argued it was because consumers

28   believe that V8 Juices are the same thing as whole fruits. So, this Court took account of this theory
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 1   when it dismissed the initial Complaint, explaining that V8 Juices’ labels truthfully provide
 2   consumers all the information they need to decide whether to purchase the products.
 3          And while the “reasonable consumer” defense is still independently sufficient to mandate
 4   dismissal of the FAC in full, Plaintiffs’ theory of deception is also expressly preempted. The FAC
 5   still maintains that the reason V8 Juices are purportedly unhealthy is because of their sugar content.
 6   But it remains true that V8 Juices contain significant amounts of vitamins, such that governing
 7   FDA regulations expressly allow the products to be labeled “healthy.”
 8          For all these reasons, the FAC should be dismissed with prejudice.
 9                                 II.     FACTUAL BACKGROUND
10          A.      The Court Dismissed the Initial Complaint as Implausible.
11          Plaintiffs’ initial Complaint challenged the labels of V8 Juices as misleading, principally
12   alleging they were not “healthy.” See Compl. ¶¶ 1, 76–78, 93 (Dkt. No. 1). V8 Juices are made
13   from fruits and vegetables and so contain naturally occurring sugars present in those plants. Id.
14   ¶¶ 1, 75–76. Because of their beneficial nutritional content, V8 Juices are foods that federal
15   regulatory authorities have concluded are part of a “healthy” diet. See Campbell Motion to Dismiss
16   (“Mot. to Dismiss”), Dkt. No. 24 at 1–2, 11–13. To that end, FDA regulations expressly permit V8
17   Juices to bear the term “healthy” because they contain significant vitamin content and have none
18   of the nutrients that FDA regulations limit for foods bearing a “healthy” claim. Id. at 11, 13 (citing
19   21 C.F.R. § 101.65(d)).
20          Although the Complaint pointed to V8 Juices’ sugar content as the source of the
21   unhealthfulness, id. ¶¶ 1, 76–78, 93, encompassed within Plaintiffs’ theory of deception were
22   allegations that V8 Juices do not have the same nutritional benefits as “whole” fruits or vegetables.
23   See Compl. ¶ 28 (alleging “fruit and vegetable” consumption is more beneficial than juice
24   consumption); ¶ 35 n.21, ¶¶ 44, 71 (citing literature purporting to show benefits of “whole fruits”).
25          Plaintiffs thus claimed V8 Juices’ labels deceived consumers as to their nutritional content,
26   alleging that the labels misleadingly portrayed V8 Juices as healthier than they are. Id. ¶¶ 1, 76–78,
27   93. Plaintiffs alleged that they relied on the claim “Boost Your Morning Nutrition,” which appears
28   on the back panel of the V8 Juices’ labels, immediately adjacent to a series of undisputed factual
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 1   statements about their nutritional content (e.g., “antioxidant vitamins A & C”) and alongside the
 2   V8 Juices’ Nutrition Facts Panel (“NFP”). Id. ¶¶ 84, 90; Compl. App’x. 1 (Dkt. No. 1-1); see also
 3   Campbell’s Request for Judicial Notice (“RJN”) (Dkt. No. 49) Ex. A. Plaintiffs also challenged the
 4   product name, “Healthy Greens.” Compl. ¶¶ 1, 18, 77.
 5           Campbell moved to dismiss on grounds that the labels were not misleading to a “reasonable
 6   consumer,” because the labels truthfully represented V8 Juices’ nutritional content. See Dkt. No. 24
 7   at 9–10. It also sought dismissal on preemption grounds because FDA regulations permit Campbell
 8   to label the products “healthy” and the V8 Juices’ sugar content does not limit use of that claim. Id.
 9   at 11–13 (citing Clark v. Perfect Bar, LLC, 816 F. App’x 141 (9th Cir. 2020)).
10           At the May 26, 2022, hearing on Campbell’s Motion to Dismiss, Plaintiffs’ counsel
11   repeatedly characterized their allegations about the V8 Juices’ sugar content as tethered to a
12   generalized theory that V8 Juices’ labels deceived consumers into believing the V8 Juices had the
13   same benefits as whole fruits. See RJN Ex. C, (“Hearing Tr.”) at 5:18–21 (“And when sugar is in
14   fruit it is encased in fiber and your body doesn’t absorb it in the same way when you drink free
15   sugar because it goes directly into the bloodstream and your liver processes it.”); id. at 6:8–13 (“[I]f
16   they were selling apple slices we wouldn’t be here, but they’re selling juice as if it is the same as
17   consuming the fruit and it’s not….And eating an apple is fine, but drinking apple juice is not the
18   same for your body.”); id. at 17:20–23 (“I think what their label in context as a whole is conveying
19   to consumers that they’re going to get the same benefit as if they were to eat those fruits.); id. at
20   18:15–17 (“[A] lot of people in, wrongly in our opinion, in plaintiffs’ position believe that juice is
21   healthy and they drink it in place of fruit.”).
22           In response to these arguments, the Court observed that consumer protection laws do not
23   prohibit the sale of juice, or bar Campbell from truthfully describing the V8 Juices’ nutritional
24   qualities. Id. at 5:23–24 (“That may be an appropriate public health issue but you’re here on
25   consumer deception.”); id. at 6:20–21 (“What does [the fact that apples and apple juice are not the
26   same] have to do with consumer deception? That’s your claim.”).
27           The Court granted Campbell’s Motion to Dismiss the following day, dismissing the
28   Complaint in full on “reasonable consumer” grounds. See Order Re: Motion to Dismiss at 1
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 1   (“Dismissal Order”), Dkt. No. 40. The Court rejected Plaintiffs’ theories of deception as
 2   implausible, noting that the label communicates to a “reasonable consumer” information needed to
 3   make an informed purchase: “No reasonable consumer would be misled by the challenged phrases
 4   because the actual sugar content is plainly stated on the labels, along with disclosures of beneficial
 5   vitamin and nutrient content. Consequently, a reasonable consumer would have all the information
 6   he or she needed to decide whether the juices are a net benefit or detriment to personal health.” Id.
 7   The Court noted the potential merit of Campbell’s preemption-based arguments but declined to
 8   reach that issue. Id. at 2. Because it was the Plaintiffs’ initial Complaint, the Court dismissed
 9   without prejudice. Id.
10          B.      The FAC Alleges Consumers Mistakenly Believe the V8 Juices Are the Same
                    as Whole Fruits and Vegetables.
11
            Plaintiffs’ FAC continues to posit that the V8 Juices’ labels mislead consumers about the
12
     products’ healthfulness. See FAC ¶ 33 (alleging the V8 Juices’ labels are “false or at least highly
13
     misleading because the Products are harmful rather than beneficial to health”); see also id. ¶ 59.
14
     The FAC also asserts the theory—previously reflected in the initial Complaint and counsel’s
15
     arguments to the Court (see infra Part II.A)—that the V8 Juices’ labels mislead consumers into
16
     believing that they “provide the same nutritional and health benefits as eating whole fruits and
17
     vegetables.” FAC ¶ 2; id. ¶¶ 14, 18–21, 32–34, 37, 58–60. The purported nutritional inferiority of
18
     the V8 Juices is once again tied to the fact that the products contain naturally occurring sugars that
19
     Plaintiffs allege is unhealthy. Id. ¶¶ 22–25, 29, 31, 34, 35, 41, 43 (alleging that fruit juice is
20
     unhealthy and its consumption should be limited because of sugar content).
21
            The FAC further alleges Plaintiffs do not have the “specialized knowledge” needed to
22
     understand the “processing” that results in “whole fruits and vegetables” becoming “Juice.” Id.
23
     ¶ 59. Plaintiffs claim they are ignorant of the fact that juices do not have the identical nutritional
24
     qualities of raw fruits or vegetables, id., alleging that juice does not have the same fiber content as
25
     raw fruits or vegetables. Id. ¶ 22, 24. The FAC continues to challenge the “Boost Your Morning
26
     Nutrition” language on the rear panel of the V8 Juices’ labels, and the “Healthy Greens” name for
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     one variety, as creating this deception. Id. ¶¶ 33, 58, 117.
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 1           The FAC now also includes other aspects of the labels are misleading, pointing to
 2   statements on the products labels that they contain “1 Serving of Veggies” or “1 Serving of Fruit”;
 3   that “8 fl. oz. has 1 serving of vegetables (1/2 cup)” or “8 fl. oz. has [1/2 or 1] serving of fruit”; that
 4   “Dietary Guidelines recommend 2 1/2 cups of a variety of vegetables and 2 cups of fruit per day
 5   for a 2,000 calorie diet”; and “images of whole fruits and vegetables.” Id. ¶¶ 17–19 (collectively
 6   “Servings Claims”). These Servings Claims appear on the front, rear, and side panels of the V8
 7   Juices’ labels. See RJN Ex. A. So, as before, Plaintiffs’ allegations that they reviewed these claims
 8   necessarily means that they reviewed the V8 Juice labels’ NFP. Id. The NFP includes the amount
 9   of total sugar in each V8 Juice, along with the V8 Juices’ fiber content, stated both in terms of
10   quantity of fiber that amount’s contribution to the percent Daily Value for that nutrient. Id. Ex. A.
11   This information is presented with the V8 Juices’ “beneficial vitamin and nutrient content,” which
12   is information this Court previously held a “reasonable consumer” could readily understand when
13   deciding whether to purchase the V8 Juices. Dismissal Order at 1.
14           These additional aspects of the V8 Juices’ labels now challenged in the FAC are truthful
15   statements about the products’ characteristics. The Servings Claims on the V8 Juices’ labels are
16   tied to the USDA Dietary Guidelines that explain that certain amounts of fruit and vegetable juices
17   qualify as a serving of fruits and vegetables that comprise “healthy” eating patterns. See RJN Ex.
18   B, at 040 (USDA, 2015-20 DGA (8th Ed.) (Dec. 2015) (“Healthy eating patterns include a variety
19   of vegetables from all of the five vegetable subgroups—dark green, red and orange, legumes (beans
20   and peas), starchy, and other. These include…vegetable juices.”); (“Healthy eating patterns include
21   fruits, especially whole fruits. The fruits food group includes whole fruits and 100% fruit juice.”)
22   (emphases added); see also id. at 101 (setting forth amounts of fruit or vegetable juice that qualifies
23   under Guidelines as serving of fruits or vegetables).
24           The FAC also points to “pictures of fresh whole fruit and vegetables” that appear on both
25   the front and rear panels of the V8 Juices’ labels as purportedly misleading. See FAC ¶ 19; RJN
26   Ex. A. In each instance, what is depicted corresponds with the fruits and vegetables used to make
27   the V8 Juice, thus communicating the constituent ingredients in the food. Id. For example, the label
28   for the “Purple Power” V8 Juice has pictures on its front and back panel of beets, purple carrots,
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 1   and apples. Id. These depictions conform to the fruit and vegetable juices in the product. Id. Ex. A,
 2   at 001 (“concentrated juices of beets, purple carrots” and “apple juice” listed as ingredients in
 3   Purple Power Juice). Although the FAC does not mention it, the images of the V8 Juices’ fruit and
 4   vegetable ingredients surround prominent additional language that explains that the products are
 5   “Made With The Juices of 2 1/4 Pounds of Vegetables & Fruit.” Id. So, the V8 Juices’ labels overtly
 6   explain that the fruits and vegetables depicted in these images identify the particular plants that
 7   “The Juices” are “Made With.” Id.
 8           As before, the FAC asserts causes of action for violation of the Cal. Bus. & Prof. Code
 9   § 17200 (“UCL”), § 17500 (FAL), Cal. Civ. Code § 1750 (“CLRA”), and for breach of express
10   warranty. FAC ¶¶ 82–121. Plaintiffs seek certification of a class of California consumers under
11   Fed. R. Civ. P. 23(b)(3) and (b)(2), seeking damages, equitable monetary remedies, and injunctive
12   relief. Id. ¶ 122 (“Prayer for Relief”).
13                III.   STATEMENT OF ISSUES TO BE DECIDED (L.R. 7-4(A)(3))
14           1.      Whether Plaintiffs have plausibly alleged that the V8 Juice labels would mislead a
15   “reasonable consumer.”
16           2.      Whether Plaintiffs’ claims are expressly preempted.
17           3.      Whether Plaintiffs’ requests for injunctive and equitable monetary relief are barred.
18           4.      Whether the FAC should be dismissed with prejudice given the prior pleading and
19   futility of amendment.
20                                    IV.       STANDARD OF REVIEW
21           “[Rule 12(b)(6) requires that a complaint] . . . contain factual allegations sufficient to ‘state
22   a claim to relief that is plausible on its face.”’ Williams v. Cal., 764 F.3d 1002, 1007 (9th Cir. 2014)
23   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “[T]he court [is not] required to
24   accept as true allegations that are merely conclusory, unwarranted deductions of fact, or
25   unreasonable inferences.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1008 (9th Cir.
26   2018). Whether a complaint states a plausible claim is a “context-specific task that requires the
27   reviewing court to draw on its judicial experience and common sense.” Ashcroft v. Iqbal, 556 U.S.
28   662, 679 (2009). A motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) challenges
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 1   the Court’s subject-matter jurisdiction, including plaintiff’s standing. Fed. R. Civ. P. 12(b)(1).
 2                                          V.      ARGUMENT
 3          A.      No Reasonable Consumer Is Misled by the V8 Juices’ Labels.
 4          The FAC’s UCL, FAL and CLRA claims are subject to review under the “reasonable
 5   consumer” standard. Moore v. Trader Joe’s Co., 4 F.4th 874, 881 (9th Cir. 2021). To meet this
 6   standard, a pleading must plausibly allege “that a significant portion of the general consuming
 7   public or of targeted consumers, acting reasonably in the circumstances, could be misled.” Id. at
 8   882. Theories of deception that are implausible necessarily fail the “reasonable consumer” test.
 9   Dismissal Order at 1; see also Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016).
10          Three further points of law bear heavily on the FAC’s implausibility under the “reasonable
11   consumer” standard here. First, reasonable consumers are presumed to have a “common sense”
12   understanding of the basic nature of foods. Weiss v. Trader Joe’s, 838 F. App’x. 302, 303 (9th Cir.
13   2021) (“Simply put, a reasonable consumer does not check her common sense at the door of the
14   store.”); Brady v. Bayer Corp., 26 Cal. App. 5th 1156, 1165 (2018) (“If a claim of misleading
15   labeling runs counter to ordinary common sense or the obvious nature of the product, the claim is
16   fit for disposition at the [motion to dismiss] stage of the litigation.”) (emphasis added). Second, the
17   V8 Juice’s labels, in their entirety, must be considered when evaluating whether the FAC states a
18   plausible claim for relief. Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1017 (9th Cir. 2020);
19   accord Dismissal Order at 1. And third, when a plaintiff’s amended pleading advances the same
20   implausible theory of deception previously rejected under the “reasonable consumer” standard, then
21   a second dismissal—with prejudice—is proper. Yu v. Dr Pepper Snapple Grp, Inc., 2020 WL
22   5910071, at *5 (N.D. Cal. Oct. 6, 2020) (“Plaintiff’s reasonable consumer theory is not plausible
23   as a matter of law.”) (rejecting amended complaint with same theory of deception; dismissing with
24   prejudice); Parks v. Ainsworth Pet Nutrition, LLC, 2020 WL 832863, at *2 (S.D.N.Y. Feb. 20,
25   2020) (same). Applying these principles, the FAC is subject to dismissal on multiple grounds.
26          First, no “reasonable consumer” buys a bottle of 100% fruit and vegetable juice under the
27   mistaken impression that they are buying whole fruits and vegetables. A “reasonable consumer” is
28   perfectly capable of understanding the difference between raw fruits and vegetables, and the juice
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 1   made from those ingredients. See Manchouk v. Mondelez Int’l Inc., 2013 WL 5400285, at *3 (N.D.
 2   Cal. Sept. 26, 2013) (reasonable consumer would understand that reference to “real fruit” includes
 3   purees); Workman v. Plum Inc., 141 F. Supp. 3d 1032, 1035 (N.D. Cal. 2015) (“Plaintiff concedes
 4   that the labels contain no affirmative misrepresentations and that all of the items pictured are
 5   actually present in the product.”). The fact that the product is a “juice,” not a raw fruit or vegetable,
 6   could not possibly be clearer. V8 Juices are sold in translucent bottles and consistently described
 7   on the labels as “Juice.” See RJN Ex. A. And contrary to what is conclusorily alleged, see FAC
 8   ¶ 59, a “reasonable consumer” understands that to make V8 Juices a “process” must be applied to
 9   whole fruits and vegetables to extract the underlying juice. Manchouk, 2013 WL 5400285, at *3.
10           Second, no “reasonable consumer” would form the mistaken impression that V8 Juices have
11   nutritional qualities identical to whole fruits or vegetables. FAC ¶ 20. A recent Ninth Circuit panel
12   considered this exact theory and unambiguously rejected it: “[T]wo distinct food products
13   necessarily have different nutritional profiles…[I]t is not plausible that a reasonable consumer
14   would assume that two distinct products have the same nutritional content.” See Painter, 757 F.
15   App’x at 519 (affirming Rule 12 dismissal on “reasonable consumer” grounds of complaint alleging
16   that defendant’s labels might mislead consumers into believing almond milk was nutritionally
17   equivalent to dairy milk). As in Painter, there is no dispute about the accuracy of V8 Juices’ NFP,
18   and so as a matter of law Plaintiffs’ “nutritional equivalency” theory is foreclosed by the truth of
19   the label itself. Painter, 757 F. App’x. at 519 (“The district court correctly concluded that no
20   reasonable consumer could be misled by [defendant’s] unambiguous labeling or factually accurate
21   nutritional statements.”) (internal quotation marks omitted); accord Painter v. Blue Diamond
22   Growers, 2017 WL 4766510, at *2 (C.D. Cal. May 24, 2017) (“If the consumer is concerned about
23   the nutritious qualities of the product, they can read the nutrition label—which Plaintiff does not
24   allege is false or misleading.”). This holding in Painter—that an accurate NFP discredits
25   “nutritional equivalency” allegations—is also perfectly aligned with this Court’s holding that the
26   V8 Juices labels’ disclosure of their “beneficial vitamins and nutrient content,” Dismissal Order at
27   1, renders Plaintiffs’ claimed deception implausible.
28           Moreover, Plaintiffs’ “new” theory as to nutritional equivalency is tethered almost
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 1   exclusively to their allegation that consumers might be deceived about V8 Juices’ fiber content.
 2   FAC ¶ 22. This is repudiated by the NFP itself, which discloses the precise level of that content.
 3   See RJN Ex. A. Other than this inadequate allegation, the FAC relies overwhelmingly on V8 Juices’
 4   sugar content as the basis of deception. See FAC ¶¶ 22–25, 29, 31, 34, 35, 41, 43. But this Court
 5   has already firmly rejected that theory. Dismissal Order at 1; see also Truxel v. General Mills Sales,
 6   Inc., 2019 WL 3940956, at *4 (N.D. Cal. Aug. 13, 2019); Clark v. Perfect Bar, LLC, 2018 WL
 7   7048788, at *1 (N.D. Cal. Dec. 21, 2018) (healthfulness deception based on sugar content
 8   implausible).
 9          Third, because the specific claims on V8 Juices’ labels that Plaintiffs attack are true,
10   “reasonable consumer” law does not entitle Plaintiffs to assume that consumers will draw an
11   implausible inference that the products have the exact nutritional qualities as raw fruits and
12   vegetables. Painter, 757 F. App’x. at 519; see also Shaeffer v. Califia Farms, Inc., 44 Cal. App.
13   5th 1125, 1139 (2020) (“[W]e are hesitant to adopt a theory upon which almost any advertisement
14   extolling a product’s attributes would be fodder for litigation.”).
15          The “Boost Your Morning Nutrition” claim, FAC ¶¶ 18, 33, is immediately adjacent to a
16   series of undisputed nutritional facts about the product, including that it is comprised of fruits and
17   vegetables and that it contains “antioxidant vitamins A & C.” RJN Ex. A. The “Healthy Greens”
18   statement, FAC ¶ 33, likewise accurately describes the ingredients and qualities of that V8 Juice.
19   It contains juice from kale, spinach and cucumbers among its ingredients and qualifies—as do all
20   of the V8 Juices— as “healthy” under FDA regulations. See infra Part III.B (all V8 Juices qualify
21   as “healthy” under 21 C.F.R. § 101.65(d)). Neither claim implies the products have the exact same
22   nutrients as raw fruits and vegetables. And the Court has already concluded these statements do not
23   mislead a “reasonable consumer” into misunderstanding the healthfulness of the products
24   generally. Dismissal Order at 1; see also Truxel, 2019 WL 3940956, at *4.
25          Similarly, accurate claims that the V8 Juices provide a certain number of servings of fruits
26   and vegetables are not reasonably interpreted as an implied message that the V8 Juices are
27   nutritionally identical to raw fruits or vegetables. FAC ¶¶ 17–18, 32. The Servings Claims
28   accurately reflect that USDA Dietary Guidelines classify fruit and vegetable juice as falling within
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 1   the fruit and vegetable food groups, and so the USDA therefore considers juice to be among the
 2   variety of fruits and vegetables that comprise a “healthy” diet. See, e.g., RJN Ex. B, at 040 (USDA
 3   Dietary Guidelines explaining that fruit and vegetable juices are part of “healthy eating patterns”
 4   and thus among the foods that qualify as a serving of fruits or vegetables). It is therefore entirely
 5   truthful for the labels to state the “Dietary Guidelines” qualify the juices as representing a serving
 6   of fruits or vegetables. Id. Plaintiffs might quibble with the USDA’s determination that juices are
 7   part of “healthy eating patterns” and thus qualify as a serving of fruits or vegetables, but that that
 8   does not make these claims false or misleading. As this Court stressed during the hearing on
 9   Campbell’s prior Motion to Dismiss, “That may be an appropriate public health issue but you’re
10   here on consumer deception.” See RJN Ex. C, (Hearing Tr. at 5:23–24).
11          In all events, Plaintiffs would be wrong to discredit these statements as contrary to public
12   health objectives. Congress has already decided that the USDA’s Dietary Guidelines serve the
13   express purpose of providing “nutritional and dietary information and guidelines for the general
14   public . . . promoted by each Federal agency in carrying out any Federal food, nutrition, or health
15   program.” See 7 U.S.C. § 5341(a)(1); see also 7 U.S.C. § 5301(2) (one of the enumerated
16   “purposes” of the Dietary Guidelines is to “provide a scientific basis for the maintenance and
17   improvement of the nutritional status of the people of the United States and the nutritional quality
18   (including, but not limited to, nutritive and nonnutritive content) of food consumed in the United
19   States”). The USDA in turn must base the Guidelines “on the preponderance of the scientific and
20   medical knowledge which is current at the time the report is prepared.” Id. § 5341(a)(2). The
21   Servings Claims thus fully comport with federal nutritional guidance intended to benefit public
22   health based on prevailing science. Id. No “reasonable consumer” would be misled by these aspects
23   of the V8 Juices’ labels. Moore, 4 F.4th at 885 (“reasonable consumer” not misled by an allegedly
24   misleading ingredient statement that complied with relevant FDA Guidance). And while Plaintiffs
25   can be predictably expected to try to now discredit this USDA resource, their prior Complaint cited
26   these same Guidelines as instructive for recommended juice consumption. See Compl. ¶ 72.
27          Last, the pictures of fruits and vegetables on the labels do not communicate to a “reasonable
28   consumer” that the V8 Juices have the exact same nutritional content as the plants depicted. FAC
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 1   ¶ 19. They instead convey nothing more than the fact that the V8 Juices draw their juice from those
 2   particular fruits and vegetables. Workman, 141 F. Supp. 3d at 1035; see also Chuang v. Dr Pepper
 3   Snapple Grp., 2017 WL 4286577, at *4 (C.D. Cal. Sept. 20, 2017) (“Plaintiff does not adequately
 4   allege how the images and statements are false, in particular because an independent review of the
 5   product labels reveals that the statements are not false, as the products do contain the fruits and
 6   vegetables depicted, are made with fruit and vegetable juice, and contain 100% of the daily value
 7   of Vitamin C.”). Although there is no deception to dispel on this point, the V8 Juices’ labels contain
 8   additional explanatory language that they are “Made With The Juices” of a specified quantity of
 9   the fruits and vegetables depicted. RJN Ex. A. So, any possible ambiguity about what is meant by
10   the images of fruits and vegetables is addressed by this prominent explanatory “Made With”
11   statement. Moore, 4 F.4th at 882 (full label including qualifying language must be considered).
12           Fourth, insofar as the FAC’s “nutritional equivalence” theory encompasses a claim that
13   “reasonable consumers” are misled into believing that the V8 Juices are “healthy” when they
14   purportedly are not, FAC ¶¶ 15, 18, 20, 33–34, this is implausible because it is truthful to
15   communicate that the V8 Juices promote good health as part of a balanced diet. Fruit and vegetable
16   juices are food sources the USDA and FDA have determined, based on nutritional science, provide
17   positive nutrients and whose consumption should be encouraged. See Mot. to Dismiss at 3, 10–11.
18   So, under FDA regulations the V8 Juices all qualify to carry an express statement that they are
19   “healthy.” See infra Part V.B. To accept Plaintiffs’ theory would directly contravene federal
20   nutritional guidance and binding regulations, effectively making it per se deceptive under state
21   consumer protection laws to say anything positive about the beneficial qualities of fruit and
22   vegetable juice. This sort of sweeping rule, as this Court already observed, is beyond the reach of
23   consumer protection law and improperly attempts to enlist courts as free-ranging health agencies.
24   RJN Ex. C, (Hearing Tr. at 18:19–20) (“Well, it’s not Campbell’s burden to change the world about
25   juice.”).
26           Fifth, the FAC’s theory that the V8 Juices’ labels mislead consumers into believing that the
27   products have the same nutritional qualities as whole fruits or vegetables was encompassed in the
28   prior Complaint, and so this Court has therefore already rejected it. See Dismissal Order at 1; see
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 1   supra Part II.A. While the Complaint focused heavily on the V8 Juices’ sugar content, Compl. ¶¶ 1,
 2   76–78, 93, that pleading also included the broader argument that the V8 Juices are not healthy when
 3   compared to the nutritional benefits of whole fruits and vegetables. See id. ¶¶ 28, 35 n.21, 44, 71.
 4          Thus, when the Court questioned the plausibility of Plaintiffs’ assertions pertaining to sugar,
 5   Counsel repeatedly framed the V8 Juices’ sugar content as a proxy for their actual position that the
 6   products’ labels communicated that the V8 Juices had the same benefits of fruits or vegetables. See
 7   RJN Ex. C, (Hearing Tr. at 5:18–20; 6:7–13; 18:15–18); id. at 17:20–23 (“Well, again, I think what
 8   their label in context as a whole is conveying to consumers that they’re going to get the same benefit
 9   as if they were to eat those fruits”). 1 These repeated characterizations of the Complaint by Counsel
10   are binding on Plaintiffs. In re Adamson Apparel, Inc., 785 F.3d 1285, 1294 (9th Cir. 2015) (“A
11   party . . . is bound by concessions made in its brief or at oral argument.”). So, the Court’s ruling
12   the next day that the V8 Juices’ labels give “a reasonable consumer [] all the information he or she
13   need[s] to decide whether the juices are a net benefit or detriment to personal health,” Dismissal
14   Order at 1, necessarily embraced the FAC’s assertion that the labels purport to mislead consumers
15   into believing that the V8 Juices have nutritional profiles identical to “whole fruits and vegetables.”
16   FAC ¶ 2. A pleading that re-states the same defective theory is necessarily inadequate. Yu, 2020
17   WL 5910071, at *5.
18          For all these reasons, the FAC does not survive review under the “reasonable consumer”
19   standard. And because the FAC does not state a claim for relief under that standard, the warranty
20   claim also fails. Yu, 2020 WL 5910071, at *7; Truxel, 2019 WL 3940956, at *4 (theory inadequate
21   under reasonable consumer standard means warranty claims dismissed).
22          B.      Plaintiffs’ Claims Are Preempted.
23          Although the “reasonable consumer” defense is independently sufficient to defeat
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25          1
               The Court acknowledged Plaintiffs’ Counsel’s arguments that the Court should treat the
     Complaint as having advanced a theory that the V8 Juices labels communicated to consumers that
26   the products were nutritionally identical to whole fruits and vegetables. RJN Ex. C, (Hearing Tr. at
     6:20–21) (“What does [the fact that apples and apple juice are not the same] have to do with
27   consumer deception?”); id. at 18:19–20 (“Well, it’s not Campbell’s burden to change the world
     about juice.”). The skepticism the Court expressed at the hearing, id., thus comports with an
28   interpretation that the subsequent Dismissal Order rejected the theory.
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 1   Plaintiffs’ claims, the FAC also fails as preempted by the Nutrition Labeling and Education Act
 2   (“NLEA”). As noted in the Dismissal Order, the Ninth Circuit held in Clark v. Perfect Bar LLC,
 3   816 F. App’x 141 (9th Cir. 2020), that claims challenging the healthfulness of foods because of
 4   their sugar content are preempted, particularly where those foods otherwise qualify as “healthy”
 5   under FDA regulatory standards. See Dismissal Order at 2 (citing Clark). As Campbell previously
 6   explained, every single V8 Juice challenged in this case qualifies as “healthy” under federal
 7   standards because of their significant Vitamin A and C content, and because they do not contain
 8   any of the nutrients that the FDA deems disqualifying to make a “healthy” claim. See Mot. to
 9   Dismiss at 12–13 (citing 21 C.F.R. § 101.65(d) (“healthy” nutrient content claims)). Sugar is not
10   among the disqualifying nutrients for a healthy claim. See 59 Fed. Reg. 24,232, 24,244 (May 10,
11   1994). As interpreted by Clark, these regulations preempt state laws that challenge labeling
12   communicating a “healthy” message simply because the product contains sugar. 816 F. App’x at
13   143 (“[a]llowing a claim of misbranding under California law based on misleading sugar level
14   content would ‘indirectly establish’ a sugar labeling requirement ‘that is not identical to the federal
15   requirements,’ a result foreclosed by our precedent.”).
16          Although the FAC has a superficially heightened emphasis on its “fruit equivalency” theory
17   of deception, the FAC nonetheless continues to repeatedly allege that the net impression promoted
18   by the V8 Juices’ labeling is that the products are “healthy.” FAC ¶¶ 49, 52, 55 (all plaintiffs
19   alleging deception based on challenged “labeling claims and images that were intended to appeal
20   to consumers interested in healthy products”); FAC ¶¶ 18, 20, 27, 34, 35-36, 43 (similar allegations
21   that V8 Juices misleadingly portrayed as “healthy”). And, similarly, the FAC continues to allege
22   that the reason V8 Juices are purportedly “unhealthy” is because of their sugar content. Id. ¶¶ 22-
23   25, 29, 31, 34, 35, 41, 43 (sugar content in juice renders it unhealthy). So, in substance, the FAC
24   remains barred by the logic of Clark, because Plaintiffs’ claims would “indirectly establish” a sugar
25   labeling requirement not identical to federal law. 816 F. App’x at 142–43. The strength of this
26   regulatory argument is buttressed further here, because the products under consideration are juices
27   that qualify as foods that Dietary Guidelines confirm are part of “healthy eating patterns.” RJN Ex.
28   B, at 040; see also 7 U.S.C. §§ 5301(2); 5341(a)(1)(2) (Dietary Guidelines provide “general public
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 1   with nutritional advice,” are intended to “improve[] the nutritional status” of consumers’ diets, and
 2   are based on “scientific knowledge [that is] current.”).
 3          Clark applies with particular force to the “Healthy Greens” variety of V8 Juice, as FDA
 4   regulations expressly permit Campbell to use the word “healthy.” See 21 C.F.R. § 101.65(d)(2)(F).
 5   And per § 101.65(d)(1)(ii), the “Healthy Greens” claim is made “in connection with” “explicit or
 6   implicit claim(s) or statement(s) about a nutrient”: “with antioxidant vitamins A & C” and “No
 7   Sugar Added.” See 21 C.F.R. § 101.60(c); accord Hadley v. Kellogg Sales Co., 273 F. Supp. 3d
 8   1052, 1073 (N.D. Cal. 2017). This rationale can be readily extended to the remaining challenged
 9   claims, as they appear in connection with information that points to positive nutrients the FDA has
10   determined qualify the V8 Juices as “healthy” foods. See supra Part IV.A.
11          C.      Plaintiffs Are Not Entitled To Their Requested Equitable Remedies.
12          Although the proper disposition of the FAC is dismissal in full, Plaintiffs also seek equitable
13   remedies they are unentitled to and that should be dismissed.
14          First, Plaintiffs lack Article III standing for injunctive relief, because they have not
15   plausibly alleged threatened future harm. See Davidson v. Kimberly-Clark Corp., 873 F.3d 1103,
16   1113 (9th Cir. 2017), as amended on denial of reh’g en banc, 889 F.3d 956, 969–70 (9th Cir. 2018).
17   Plaintiffs’ entire case hinges on the assertion that the V8 Juices are inherently unhealthy because
18   they are juice. FAC ¶¶ 22–25, 29, 31, 34, 35, 41, 43. Their allegation of future purchase intent if
19   the products are “reformulated,” FAC ¶ 68, is thus implausible. Indeed, the FAC’s boilerplate
20   retention of a request for injunctive relief is completely illogical—Campbell cannot “reformulate”
21   juice into raw fruits or vegetables. Nor would removing the challenged claims cause the V8 Juices
22   to stop being juice. There is thus no plausible allegation of future purchase intent sufficient to
23   support Article III standing for injunctive relief. Yu, 2019 WL 2515919, at *5 (no standing to seek
24   injunctive relief when “Plaintiff has not alleged that he would purchase the products-in-question if
25   the representation ‘Natural’ or ‘All Natural Ingredients’ was removed”).
26          Second, Plaintiffs’ request for equitable monetary relief still fails, because they do not allege
27   they lack an adequate remedy at law as required by Sonner v. Premier Nutrition Corp., 971 F.3d
28   834 (9th Cir. 2020). Plaintiffs seek restitution under the UCL and FAL, i.e., the money they claim
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 1   they overpaid for the V8 Juices. FAC ¶¶ 97, 105; Werdebaugh v. Blue Diamond Growers, 2014
 2   WL 7148923, at *8 (N.D. Cal. Dec. 15, 2014). That remedy is entirely duplicative of their request
 3   for compensatory relief under the CLRA and for breach of warranties. FAC ¶¶ 114, 121. The
 4   requested restitutionary relief is thus barred. Werdebaugh, 2014 WL 7148923, at *8; Johnson v.
 5   Trumpet Behav. Health, LLC, 2022 WL 74163, at *3 (N.D. Cal. Jan. 7, 2022).
 6          D.      The FAC Should Be Dismissed With Prejudice.
 7          Dismissal with prejudice is appropriate where amendment would be futile, Cattaneo v. Am.
 8   Airlines, Inc., 2015 WL 5610017, at *3 (N.D. Cal. Sept. 24, 2015), or a plaintiff “repeated[ly] fail[s]
 9   to cure deficiencies by amendments previously allowed,” Brodsky v. Apple, Inc., 445 F. Supp. 3d
10   110, 122 (N.D. Cal. 2020). Both things are true here. The V8 Juices’ labels have already been
11   deemed non-misleading, Dismissal Order at 1, and the FAC points to no plausible set of facts to
12   alter that conclusion. Amendment would thus be futile. Workman, 141 F. Supp. 3d at 1037 (“[T]he
13   labels at issue are not deceptive, and the labels themselves cannot be changed by a new complaint,
14   [so] any amendment would be futile.”). This is also Plaintiffs’ second attempt to salvage an
15   otherwise defective lawsuit; a third attempt should not be permitted. Collette v. Wyeth Pharm., Inc.,
16   2020 WL 3414701, at *3 (Donato, J.) (N.D. Cal. Jun. 22, 2020) (dismissing with prejudice where
17   prior opportunities to amend did not cure complaint’s deficiencies).
18                                         VI.     CONCLUSION
19          For the foregoing reasons, Campbell respectfully requests this Court dismiss Plaintiffs’
20   FAC with prejudice.
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 1
     DATED: July 26, 2022                PERKINS COIE LLP
 2

 3                                       By: /s/ Charles C. Sipos
 4                                              David T. Biderman, Bar No. 101577
                                                DBiderman@perkinscoie.com
 5                                              PERKINS COIE LLP
                                                505 Howard Street, Suite 1000
 6                                              San Francisco, California 94105
                                                Telephone:    415.344.7000
 7                                              Facsimile:    415.344.7050
 8                                              Charles C. Sipos, Pro Hac Vice
                                                CSipos@perkinscoie.com
 9                                              PERKINS COIE LLP
                                                1201 Third Avenue, Suite 4900
10                                              Seattle, Washington 98101
                                                Telephone:    206.359.8000
11                                              Facsimile:    206.359.9000
12                                              Attorneys for Defendant Campbell
                                                Soup Company
13

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